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TURBIN CHU HEIDT, A Law Corporation

RICHARD TURBIN (1044)
RAI SAINT CHU (1133) Electronically Filed
JANICE D. HEIDT (8984) FIRST CIRCUIT
Pacific Guardian Center, Mauka Tower 1CCV-XX-XXXXXXX
737 Bishop Street, Suite 2730 25-APR-2023
Honolulu, Hawaii 96813 03:28 PM
Telephone: 528-4000 Dkt. 1 CMP
Attomeys for Plaintiffs

FRANCISCO DELAROSA and

SARAH LINDSEY YEAGER

IN THE CIRCUIT COURT OF THE FIRST CIRCUIT

STATE OF HAWAI
FRANCISCO DELAROSA and ) Civil No.
SARAH LINDSEY YEAGER, ) (Declaratory Judgment)
)
Plaintiffs, )
) COMPLAINT FOR
Vs. ) DECLARATORY RELIEF
)
LIBERTY MUTUAL INS. CO., )
)
Defendant. )
)

COMPLAINT FOR DECLARATORY RELIEF

Plaintiffs, FRANCISCO DELAROSA and SARAH LINDSEY YEAGER, by and
through their attorneys, TURBIN CHU HEDDT, for cause of action against the Defendant LIBERTY
MUTUAL INS. CO., alleges and avers as follows:

i, Plaintiffs FRANCISCO DELAROSA and SARAH LINDSEY YEAGER
[hereinafter “Plaintiffs”] were residents of the State of Hawaii at the time of the subject

automobile collision whereupon this claim is alleged.

EXHIBIT_A
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2. Defendant LIBERTY MUTUAL INS. CO. [hereinafter “Defendant’] is an
insurance business entity doing business in the State of Hawaii with its domicile in the State of
Massachusetts and its principal place of business in the State of Massachusetts.

3. At all times herein relevant, Defendant provided automobile liability insurance
coverage for Turo vehicle owners (aka hosts) and renters (if purchased) in the event a Turo rental
vehicle is in an automobile collision causing injuries.

4, At all times herein relevant, said Defendant automobile insurance policy
provided, among other things, liability insurance coverage for the Turo host vehicle when the
vehicle’s owner’s personal automobile insurance policy denies coverage.

5. On or about May 15, 2021 in the City and County of Honolulu, Plaintiffs
sustained severe bodily injuries when a vehicle, rented through the Turo intemet platform,
crossed the center divider line in the roadway, entered their lane of travel, and hit Plaintiffs’
vehicle head-on.

6. Plaintiffs allege that the collision was caused by the negligence of the driver of
the Turo rental vehicle [“negligent driver”] that caused the severe head-on collision.

7. Plaintiffs allege that the negligent driver’s personal automobile imsurance policy
denied coverage for the collision because there was a specific exclusion on the policy for when
the insured was driving a Turo rental vehicle.

8. Plaintiffs allege that the negligent driver, via the Turo internet platform,
purchased $20,000 in automobile insurance coverage for his personal liability protection when
renting the vehicle.

9. Plaintiffs allege that the Turo host vehicle's automobile insurance denied

coverage because the vehicle was being driven as a Turo rental at the time of the collision.
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10. Plaintiffs allege that Turo provides liability insurance coverage via Defendant's
automobile insurance policy for the host vehicle with the standard $750,000 in liability insurance
coverage, as noted on the Turo intemet website, when the host vehicle’s automobile insurance
denies coverage.

11. Plaintiffs allege that the Defendant’s $750,000 Turo insurance liability policy
provided to the host vehicle is the primary insurance coverage for Plaintiffs’ personal injury
claims relating to the subject collision.

12. The laws of the State of Hawaii, where the collision occurred, govern the rights
and obligations of Plaintiffs and Defendants as it relates to the insurance coverage and benefits
provided under said Defendant’s automobile insurance policy,

13. Turo rental vehicles are not considered a “rental vehicle” as covered by the U-
drive statute in the State of Hawaii. As such, Turo vehicles fall under the State of Hawaii Motor

Vehicle Insurance Law as outlined by HRS § 431:10C.

14. Hawaii Supreme Court in Bowers v. Alamo Rent-A-Car. Inc.. 88 Haw. 274, 965

P.2d 1274, found that the owner of a vehicle has the primary obligation to provide insurance
coverage for the owned vehicle and this obligation may not be avoided through a unilateral
contract with a permissive user of the vehicle.

15. Plaintiff requested that Defendant provide coverage under the $750,000 host
vehicle policy with Turo, and Defendant has denied Plaintiffs’ claim for coverage and benefits
on the host vehicle.

16. Plaintiffs allege that they are entitled to the $750,000 in liability coverage on the

host vehicle under Defendant insurance policy and Defendant has refused its duty to provide the
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$750,000 of insurance coverage on the host vehicle in the collision to which Plaintiffs are
entitled according to the laws of the State of Hawai.

WHEREFORE, Plaintiffs pray for damages and relief as follows:

A. That this Court declares that based on the facts of this case, said Defendant policy
providing $750,000 in coverage on the Turo host vehicle is the primary insurance policy for the
subject collision based on the laws of the State of Hawaii.

B. That this Court declares that, based on the laws of the State of Hawaii, Defendant
has an obligation to provide Plaintiffs automobile insurance benefits under the policy providing
$750,000 in coverage on the Turo host vehicle for the bodily injuries and damages Plaintiffs
suffered and sustained in the subject collision.

e ‘That this Court award Plaintiff's costs, attorneys’ fees, interest, statutory
atiomeys’ fees and costs, and such other and further relief as this Court deems just and equitable
under the circumstances.

DATED: Honolulu, Hawaii, April 25. 2023

__/s/ Janice D. Heidt

Richard Turbin

Rai Saint Chu

Janice D. Heidt

Attomeys for Plaintiffs
FRANCISCO DELAROSA and
SARAH LINDSEY YEAGER

